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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 18, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION
     In re:                                          §
                                                     §      Chapter 11
     HIGHLAND CAPITAL MANAGEMENT,                    §
     L.P.                                            §       Case No.: 19-34054-sgj11
                                                     §
              Debtor.                                §
                                                     §
     HIGHLAND CAPITAL MANAGEMENT,                    §
     L.P.                                            §
                                                     §
              Plaintiff,                             §
                                                     §         Adv. Pro. No. 21-03007-sgj
     vs.                                             §
                                                     §
     HCRE PARTNERS, LLC (n/k/a                       §
     NEXPOINT REAL ESTATE PARTNERS,                  §
     LLC),                                           §
                                                     §
              Defendant.                             §

      ORDER GRANTING MOTION TO STAY PENDING RESOLUTION OF MOTION TO
            WITHDRAW THE REFERENCE OF ADVERSARY PROCEEDING


              Upon consideration of 'HIHQGDQW¶V Motion to Stay Pending Resolution of Motion to

     Withdraw the Reference of Adversary Proceeding WKH ³Motion´ [Dkt. No. 27], any response


     ORDER GRANTING IN PART AND DENYING IN PART MOTION TO STAY (NREP)                     PAGE 1 OF 2
     CORE/3522697.0002/168492672
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 thereto, the pleadings, the record of this adversary proceeding, and the arguments presented by

 the parties before this Court, the Court hereby finds that the Motion should be GRANTED IN

 PART AND DENIED IN PART as set forth below. Accordingly,

           IT IS HEREBY ORDERED that:

           1.      The Motion is GRANTED IN PART AND DENIED IN PART as set forth

 herein.

           2.      On July 8, 2021, the bankruptcy court held a status conference with regard to the

 Motion. At such time, the bankruptcy court approved, in part, 'HIHQGDQW¶V([SHGLWHG0RWLRQWR

 Stay Pending the Resolution of Motion to Withdraw the Reference of Adversary Proceeding. In

 its ruling, the court granted the NREP-'HIHQGDQW¶VUHTXHVWIRUDVWD\SHQGLQJUHVROXWLRQRIWKH

 Motion as to dispositive motions in the Adversary Proceeding, but did not grant a stay as to any

 discovery.

                                       ## END OF ORDER ##




 ORDER GRANTING IN PART AND DENYING IN PART MOTION TO STAY (NREP)                        PAGE 2 OF 2
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03007-sgj
HCRE Partners, LLC (n/k/a NexPoint Real,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Aug 19, 2021                                               Form ID: pdf001                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 21, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Aug 19 2021 21:17:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Aug 19 2021 21:17:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 19 2021 21:17:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 21, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Aug 19, 2021                                           Form ID: pdf001                                                       Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 19, 2021 at the address(es) listed
below:
Name                             Email Address
Deborah Rose Deitsch-Perez
                                 on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) deborah.deitschperez@stinson.com,
                                 patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Juliana Hoffman
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Matthew A. Clemente
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                                 matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                                 ey@sidley.com

Michael P. Aigen
                                 on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) michael.aigen@stinson.com,
                                 stephanie.gratt@stinson.com

Paige Holden Montgomery
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 6
